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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION


UNITED STATES OF AMERICA                                                           PLAINTIFF

vs.                                  NO. 4:09CR00232-002 SWW

DERICK RAY BEARDEN                                                                 DEFENDANT

                                                 ORDER

        The above entitled cause came on for hearing September 4, 2014 on government’s petition to revoke

the supervised release previously granted this defendant in the United States District Court for the Eastern

District of Arkansas. Based upon the admissions of the defendant, the Court found that defendant has

violated the conditions of his supervised release without just cause.

        IT IS THEREFORE ORDERED AND ADJUDGED that the government’s motion to revoke [doc

#151] is granted the supervised release previously granted this defendant is hereby revoked.

        IT IS FURTHER ORDERED that defendant shall serve a term of imprisonment of TWELVE (12)

MONTHS & ONE (1) DAY in the custody of the Bureau of Prisons. The Court recommends that defendant

be incarcerated at El Reno, Oklahoma; and that defendant participate in non-residential substance abuse

programs and educational/vocational programs during incarceration.

        There will be NO term of supervised release following the term of incarceration.

        The defendant is remanded to the custody of the U. S. Marshal Service to be transported to designated

facility for service of the sentence imposed.

        IT IS SO ORDERED this 4th day of September 2014.

                                                                  /s/Susan Webber Wright
                                                                  United States District Judge
